Case 2:10-md-02179-CJB-DPC Document 6562 Filed 05/21/12 Page 1 of 2

AQ 440 (Rev, 12409) Sanunons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Jared Shane Elrod, Malcolm Coco, Troy Sens, &
Derrick McMillen

Plaintiff
vy, Civil Action No. 2:12-cv-981-CJB-SS

BP Exploration & Production inc., et al

Defendant

SUMMONS IN A CIVIL AC FION

To: (Defendant's name cand address) BP Products North America, Inc
through its registered agent for service
The Prentice-Hall Corporation System, inc.
320 Somerulos Street
Baton Rouge, LA 70802

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Salvadore Christina, Jr.

Becnel Law Firm
P.O.Drawer H
Reserve, LA 70084

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court,

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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Civil Action No. 2:12-cv-981-CJB-SS

PROOF OF SERVICE

(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 (D)

This summons for (eame ef individual aud title, ifanvj

was received by me on (date)

Date:

OE personally served the summons on the individual at (place)

On fcfate)

> OF

7 | efi the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date} , and mailed a copy to the individual’s last known address; or

O i served the summons on fname of individual)

, who is

designated by law to accept service of process on behalf of (name of organization)

on (date)

> OF

(C1 Ireturned the semmons unexecuted because

C) Other ¢speeifiy:

My fees are $ for travel and $ for services, for a total of $

E declare under penalty of perjury that this information is true.

3 or

Server's signatture

Printed name and title

Server ’s address

Additional information regarding attempted service, etc:
